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The licensing policies have been                          reevaluated       reorganized         and condensed during the           first   phase of the Resource

Guide project           This   document          is   a collection    of   standalone     licensing     policies   that   may or may not   relate                    to   one another

Some repetition may occur where                       relevant    components        apply      to different   policies    No substantive    changes                           have been

made to these           policies that          have not already been               approved


Each    policy      supersedes        all     previous versions            and   will   take   effect   on the date of signature




              n




An individual         may not operate                 a   motor vehicle on a public street or highway unless he or she holds                                              a   valid driver


license of the class           and type appropriate                  to the   vehicle       A license holder may not possess more than one valid

license




The appearance           of and       the information on a driver license may vary due to the



       Type       of license


       Age of the applicant

       Organ donor status

       Veteran       status


       Medical and emergency                    information




License    classification        is   determined             by


       The type of vehicle

       Vehicle gross       weight rating              GVWR or the towed vehicle gross combination                             weight rating     GCWR
       The number         of passengers the vehicle                   can hold

       Whether the vehicle               is   used for personal or commercial                     use




There are 4 classes of license in Texas                           The holder may drive any vehicle under that class of license or a lesser

class   except for motorcycles                   and       mopeds




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                                                                                                                                                exhibitsticker.com




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Class       A

       GVWR         of 26001       pounds or more or

       Combination           of vehicles with           a   GCWR       of 26001             pounds or more as long as the GVWR               of the   towed vehicle

       is   more than 10000 pounds



Class       B

       GVWR         of   more than 26000               pounds

       GVWR         of 26000       pounds        or    more towing

                o    A vehicle       other      than a farm trailer               with a GVWR        that   is   not   more than 10000 pounds          or


                o    A farm trailer        with a       GVWR that        is   not     more than 20000            pounds       and

       A bus with a seating              capacity of         24 passengers or more including the driver




Class       C

       Vehicle       or combination             of vehicles     not falling          under Class A or B and

       Vehicle       with   a    GVWR of less than 26001                  pounds towing             a farm trailer      with   a    GVWR   no more than 20000

       pounds



Class       M
       Allows the holder to drive                  a   motorcycle       or    moped

       Requires separate licensing than the other classes or

       May be added              to a Class      A B C or any class of commercial                        driver license




If   the vehicle meets the weight                      requirement and              falls    under one of the following categories            a   noncommercial

Class       A or B driver license          is   appropriate



       Recreational         vehicle      driven for personal             use


       Vehicle that         is   controlled       and operated          by    a   farmer and

                o    Used to transport agricultural                    products             farm machinery or farm supplies to or from a farm

                o    Not used       in   the    operation       of a   common              or contract   motor carrier and

                o    Used within 150 miles of the persons                             farm

       Vehicle       used exclusively to transport cotton                         seed modules or cotton               burs


       Firefighting         or emergency              vehicle   when used             in    an emergency

       Military or commercial                   vehicle     used for military purposes by military personnel

       Vehicle       owned leased              or controlled      by   an     air    carrier




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A minor under the age of 18 may be eligible                  for one of four types of driver license




1   Learner license          Phase    1   graduated    driver license      GDL
2   Provisional     license        Phase 2 GDL

3 Hardship        license


4 Under 21




A learner   license   is   issued to applicants        between the ages of 15 and           17 as   Phase    1 of the   graduated       driver license


program     GDL The holder

    Must be accompanied              by a licensed driver who        is   at least   21 years old with at least one year of driving

    experience      and    sitting   in   the front seat

    May     not   operate    a   motor vehicle with more than one passenger under the age of 21 who                              is   not a family

    member
    May not operate          a   motor vehicle between midnight and 500                  am unless     it   is
                                                                                                                 necessary due to       a   medical

    emergency        to drive     to work    or to attend    or participate      in a   schoolrelated activity and

    May not operate          a   motor vehicle while using a wireless communication                   device      except   in   the case     of an

    emergency


A learner   license will    say    Learner License         on the face of the card




A provisional     license   is   issued   to applicants    who are 16 to 17 years of age who have



1 Completed the necessary                  driver education    and

2 Passed the knowledge and                  skills   exams



The holder




    May not operate          a   motor vehicle with more than one passenger under the age of 21 who                              is   not a family

    member
    May not operate          a   motor vehicle between midnight and 500                  am unless     it   is
                                                                                                                 necessary due to       a   medical

    emergency        to drive     to work    or to attend    or participate      in a   schoolrelated activity and

    May not operate          a   motor vehicle while using a wireless communication                   device      except   in   the case     of an


    emergency




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A provisional        license




    Will   say Provisional                License        on the face of the card

    Is
         printed     in   vertical        format

    Expires on the             holders       18th    birthday

    Must be renewed                  in   person




An under 21 license is issued to applicants between the ages of 18 and 20 and



    Will   say   Under 21 on the face                       of the    card

    Is
         printed     in   vertical        format

    Issued    for 6 years but              eligible      for replacement          on   21ST    birthday




A hardship    license          is   issued   to applicants         who      are   between       15 and      18 years of age who have established                   the


necessity to     drive         To establish the necessity to drive the applicant                             must demonstrate



    Unusual economic hardship for the family such as

                 o        The applicant         is   married and maintains                a   separate household            apart   from the parent or guardian

                 o        The applicant         is   the    head     of a   household         other   than as a married person

                 o        The applicant         has      dependent          children    and must drive to ensure the welfare                      of the   children

                 o        The applicant         is   the only      person      eligible      for a driver license      in   the   household

                 o        The applicant         is   the only      person      eligible      for a driver license      other      than the head       of the

                          household          the     head    of the       household     is    absent from the residence for sustained                      periods of time

                          due to work         and licensing of the applicant                   is
                                                                                                    necessary to sustain the            household

                 o        The applicant         attends       school        and must work to provide             basic      necessities for the       family other

                          family      members must be absent from their employment to transport the applicant                                               to or from

                          work and         other     means of transportation are not available
                 o        The applicant         needs       transportation to and              from school       and neither           a school    bus nor public

                          transportation            is   available Travel         to participate       in   school   activities     such as sports or band          is   not

                          sufficient       reason to establish an unusual economic                          hardship or

                 o        The applicant         must drive           in   order to assist in essential farming or ranching                    activity     which   is   the

                          primary source             of family     income
    Illness   of a family            member such            that   the applicant must drive to either provide medical care or sustain the

    household             or

    Enrollment in a vocational                      education        program requiring the applicant to drive                     in   order to pursue        it




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The holder



    May not operate              a    motor vehicle with more than one passenger under the age of 21 who                                        is   not a family

    member
    May not operate              a    motor vehicle between midnight and 500                         am unless         it   is
                                                                                                                                 necessary due to         a   medical

    emergency              to drive        to work   or to attend       or participate       in a   schoolrelated activity and

    May not operate              a    motor vehicle while using a wireless communication                              device      except   in   the case        of an

    emergency




A hardship       license




    Is   printed      in   vertical        format

    Expires each year on the holders birthday

    Must be renewed                  in    person




Phase     I   Learner License



    If   a learner         license    is   suspended during Phase              1   of   GDL the initial     sixmonth         period increases by              the number

    of    days of the suspension

    Phase       1    does not apply to an applicant with                   a   Class     M or hardship       license




Phase 2 ProvisionalHardship                         License



    Restricts driving           privileges for individuals              under the age of 18 during the 12 month period following the

    issuance         of an original          Class   A B C or M provisional driver license


Drivers       under the age of 18



    Phase        1   only must be accompanied                 by    a   licensed driver who           is   at least   21 years old and          sitting   in   the front

    seat

    May not operate              a    motor vehicle with more than one passenger under the age of 21 who                                        is   not a family

    member
    May not operate              a    motor vehicle between midnight and 500                         am unless         it   is
                                                                                                                                 necessary due to         a   medical

    emergency              to drive        to work   or to attend       or participate       in a   schoolrelated activity and

    May not operate              a    motor vehicle while using a wireless communication                              device      except   in   the case        of an

    emergency




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An occupational           license     is   a   special   noncommercial      license issued   upon    authorization           by a district   justice   or


county court when an individuals driver license has been                          suspended         revoked or denied but not for               a   medical

revocation          An occupational              license   may be used to drive to work       school      or   in    the   performance       of household


duties   It   is   typically issued            for one   year but a court may authorize       it   for   up   to   two years




An applicant        for   an occupational           license   must submit to the Enforcement             and Compliance           Service



    A certified       copy     of the petition           and court order granting    the occupational              license   unless the individual      is




    participating         in   a special        drug court program

    A Financial       Responsibility             Insurance    Certificate   SR22
    The required fee and

    Reinstatement              fees




Joe Peters                                                              Date


Assistant Director




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